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 2                                                                 cleRK,uqs.ols-m lcTcouq'r
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 3                                                                BY                       DEPUW
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 5                             UNITED STATES DISTRICT CO URT
 6                                    DISTRICT OF NEVADA

 7 IJNI'I'ED STATESOFAMERICA,                )
                                             )
 8                    Plaintiff,             )
 9                                           )
                                             )               2:1I-CR-3Z7-PM P-ICW H)
                                             )
10     MICHAEL PAUL MATULICH,akatçltampagey'')
11                                           )
                      Defendant.             )   -




12                               FINAL O RDER O F FORFEITURE
13           On June 25,2012,the United States DistrictCourtforthe DistrictofN evada entered a

14 PreliminaryOrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(1)and(2);Title18,UnitedStates
15 Code,Section 924(d)(1),(2)(C)and(3)(B)andTitle28,UnitedStatesCode,Section2461(c);Title
16 21,UnitedStatesCode,Section881(a)(11)alzdTitle28,UnitedStatesCodeSection2461)Title26,
17 UnitedStatesCode,Section5872(a)andTitle28,UnitedStatesCode,Section246l(c);andTitle2ls
18 UnitedStatesCode,Section853(a)(1)and(p)baseduponthepleaofguiltybydefendantM ICHAEL
19 PAUL M ATULICHSakaddlkampage''tocriminaloffenses, forfeiting specificpropertyalleged inthe
20    CriminalIndictmentandagreed to in thePleaM emorandum and shown by theUnited Statestohave
2l arequisitenexusto theoffensetowhich defendantM ICHAEL PAUL M ATULICH akaHRampage''
22 pled guilty.Crim inalIndictm ent,ECF No. 1)PleaM emorandum ,ECFNO.58;M inutesofChangeof
23 PleaProoeedings,ECF No.56;Preliminav OrderofForfeitm e, ECF No.60.
24           This Courttinds the United States of America published the notice ofthe forfeiture in
25 accordance with theviatheoftk ialgovem mentinternetforfeiture site, w wm forfeiture.gov,
26
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 1 consecutively from June 27,2012,through July 26,2012,notifying al1third partiesoftheirrightto
2      petition the Court.N oticeofFilingProofofPublication,ECF No.71.
 3            ThisCourtfindsno petition wasliled hereinby oron behalfofanyperson orentity andthe
4 timeforfiling such petitionsand claim shasexpired.
 5            ThisCourtfindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetim e
 6 forpresenting such petitionshasexpired.
 7         THEREFORE IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata1lrights 1
                                                                             l
                           ,


 8 title,and interestin the property hereinaherdescribed iscondemned,forfeited,and vested in the
 9 United StatesofAmericapursuantto Fed.R.Crim.P,32.2(b)(4)(A)and (B);Fed.R.Crim.P.
10 32.2(c)(2);Title 18,United SltesCode,Section924(d)(l),(2)(C)and(3)(B)andTitle28,United
11 StatesCode,Section 2461(c);Title21,UnitedStatesCode,Section881(a)(11)andTitle28,United
12 StatesCodeSection2461)Title26,UnitedStatesCode,Section5872(a)andTitle28,United States
13 Code,Section 2461(c);andTitle21,United StatesCode,Section 853(a)(l)and(p);and Title21,
14 UnitedStatesCode,Section853(n)(7)andshallbedisposedofaccordingtolaw:
15            (a) M averickmodel8812gaugeshort-barreled shotgun,serialnumber51V049346;
l6            (b) M ossbergmodel500A 12gaugeshotgun,serialnumber1244961;
17            (c) IntratecModelTec-99mm ,serialnumber23988;
18            (d) RussianSKS 7.62X39rifle,withbayonet,serialnumber9937905;
l9            (e) Berettamodel92125 Compact9mm pistol,serialnumberE319822)
20            (9    ahomemadeMac-l1type9mm pistol;
21            (g) KelticCNC Industries,Inc.Pl1pistol9mm,serialnumberASK60;
22            (h) anyanda11ammunition;
23            (i)   an in personam criminalforfeitme money judgmentof$900.00 in United States
24                  Currency;and

25            (j) an in personam criminalforfeiture moneyjudgmentof$300.00 in United States
26                CurrencyCipropertf').
                                                  2
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 1            IT IS FURTHER O RD ER ED,A D JUD G ED ,AN D D ECREED that any and al1forfcited
 2 funds,includingbutnotlim ited to,currency,currency equivalents,certilkatesofdeposit,aswellas
 3 anyincom ederivedasaresultoftheUnitedStatesofAmerica'smanagem entofanypropertyforlkited
 4     herein,and theproceedsfrom thesaleofany forfeitedpropertyshallbedisposedofaccordingto law .
 5            TheClerk ishereby directcd to send copiesofthisOrderto al1counselofrecord and three
 6 certitied copiestotheUnited StatesAttorney'sOftice.
                                                 -
 7            DATED this       ?'t):..-- dayof :)(-t,t-...tL.(,
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